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Information Systems, Inc., and Toshiba
America Electronic Components, Inc.

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

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IN RE: CATHODE RAY TUBE (CRT) Case No. 07-5944 SC
ANTITRUST LITIGATION MDL No. 1917

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This Document Relates to
Case No. 13-cv-02171-SC (N.D. Cal.)

DELL INC. AND DELL PRODUCTS L.P.,
THE TOSHIBA DEFENDANTS’

Plaintiffs, ADMINISTRATIVE MOTION TO
FILE DOCUMENTS UNDER SEAL
v. PURSUANT TO CIVIL LOCAL
RULES 7-11 AND 79-5(d)
HITACHI, LTD., et al.,

Defendants.

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THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
DOCUMENTS UNDER SEAL PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d)
Case No. 07-5944-SC
MDL No. 1917

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Pursuant to Civil Local Rules 7-11 and 79-5, Defendants Toshiba Corporation,
Toshiba America, Inc., Toshiba America Information Systems, Inc., and Toshiba America
Electronic Components, Inc. (collectively, the “Toshiba Defendants”), by and through their
counsel, respectfully request an order permitting the Toshiba Defendants to file the following
documents under seal:

1. Portions of the Toshiba Defendants’ Response to Plaintiffs’ October 15, 2013 Letter
Seeking Discovery Order And To Strike Errata (the “Toshiba Defendants’
Response”) that contains quotations from, or discussion of, deposition testimony that
the parties have designated as “Highly Confidential”; and

2. Exhibits 1, 3, 4, 5, 6, and 8 to the Declaration of Matthew N. Frutig in Support of the
Toshiba Defendants’ Response (“Frutig Decl.”) that are transcript or video excerpts
of deposition testimony that Defendants have designated as “Highly Confidential.”
This motion is supported by the Declaration of Dana E. Foster, dated October 29,

2013 (“Foster Decl.”). Civil Local Rule 79-5(d)(1)(A) provides that “a party seeking to file a
document, or portions thereof, under seal must file an administrative motion to file under
seal” accompanied by “a declaration establishing that the document sought to be filed under
seal, or portions thereof, are sealable.” Because the documents at issue here relate to a non-
dispositive motion, the Toshiba Defendants need only show that good cause exists for the
designated materials to remain under seal. See, e.g., Kamakana v. City & Cnty. of Honolulu,
447 F.3d 1172, 1180 (9th Cir. 2006) (“[a] ‘good cause’ showing under Rule 26(c) will suffice
to keep sealed records attached to nondispositive motions”).

As set forth in the Foster Decl., the standard for filing under seal is met in the present
case. The documents listed above consist of, quote from, and/or summarize confidential,
nonpublic, proprietary and highly sensitive business information, including, among other
commercially sensitive business information and strategies, confidential information about
the Toshiba Defendants’ sales processes, business practices, internal practices, confidential
business and supply agreements, and competitive positions. This information is confidential

commercial information, the disclosure of which would prejudice the Toshiba Defendants

THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
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Case No. 07-5944-SC
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both in their commercial relationships with customers and suppliers and in their competitive
efforts. Accordingly, good cause exists for portions of the Toshiba Defendants’ Response
and the entirety of Exhibits 1, 3, 4, 5, 6, and 8 to the Frutig Decl. to be filed under seal. For
these reasons, the Toshiba Defendants respectfully submit this motion pursuant to Civil Local
Rules 7-11 and 79-5.

Respectfully submitted,

Dated: October 29, 2013 WHATE & CASEup

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CERTIFICATE OF SERVICE

On October 29, 2013, I caused a copy of “THE TOSHIBA DEFENDANTS’
ADMINISTRATIVE MOTION TO FILE DOCUMENTS UNDER SEAL PURSUANT
TO CIVIL LOCAL RULES 7-11 AND 79-5(d)” to be electronically filed via the Court’s

Electronic Case Filing System, which constitutes service in this action pursuant to the

Court’s order of September 29, 2008.

Dana E. Foster

THE TOSHIBA DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE
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